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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re                                                          :                          Chapter 11
                                                               :
SOUNDVIEW ELITE LTD., et al.,                                  :                          Case No. 13-13098 (MKV)
                                                               :                          (Jointly Administered)
                           Debtors.                            :
---------------------------------------------------------------x
CORINNE BALL, as Plan Administrator of                         :
SOUNDVIEW ELITE LTD.,                                          :                          Adv. Pro. No.: 15-01312 (MKV)
                                                               :
                                    Plaintiff,                 :
                                v.                             :
                                                               :
JAMES CROSSON, JR.,                                            :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------x

           ORDER GRANTING MOTION OF PLAN ADMINISTRATOR TO ENFORCE
              SETTLEMENT AGREEMENT WITH JAMES CROSSON, JR. AND
               FOR ENTRY OF JUDGMENT AGAINST JAMES CROSSON, JR.

                             Upon the motion (the “Motion”)1, of Corinne Ball, not personally, but solely in

her capacity as Plan Administrator of Soundview Elite Ltd. (“Soundview Elite”) and Plaintiff

(the “Plaintiff”) in the above-captioned Adversary Proceeding, to enforce the settlement

agreement (the “Settlement Agreement”) with James Crosson, Jr., the defendant in the above-

captioned Adversary Proceeding (“Crosson”), and for entry of a judgment against Crosson in the

amount of $10,000 plus pre-judgment interest and costs of this action [ECF No. 23]; and due and

proper notice of the Motion having been provided and no other or further notice need be

provided [ECF No. 25]; and there being no opposition to the Motion; the Court having reviewed

the Motion and having determined that the legal and factual basis set forth in the Motion




                                                            
1
              Capitalized terms not defined herein shall have the meaning given to such terms in the Motion.
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establish just cause for the relief granted herein; and upon all the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefore, it is hereby

               ORDERED that the Motion is granted as set forth herein; and it is further

               ORDERED that Crosson is found and adjudicated to be in material breach of the

Settlement Agreement; and it is further

               ORDERED that the Plaintiff have judgment against Crosson in the liquidated

amount of $10,000, plus pre-judgment interest from the date of commencement of this

Adversary Proceeding through May 31, 2018 in the amount of $2,251, plus $350 in costs for this

action, plus post-judgment interest accruing from the date of entry of a judgment at the federal

post-judgment rate under 28 U.S.C. § 1961; and it is further

               ORDERED that the Clerk of the Court is directed to enter a judgment against

Crosson substantially in the form annexed hereto as Exhibit 1; and it is further

               ORDERED that the Court shall retain jurisdiction with respect to all matters

arising from or related to the implementation of this Order.


Dated: New York, New York
       August 8, 2018

                                          s/ Mary Kay Vyskocil
                                      HONORABLE MARY KAY VYSKOCIL
                                      UNITED STATES BANKRUPTCY JUDGE




                                                 2
 
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                                     EXHIBIT 1

                                    JUDGMENT
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re                                                          :        Chapter 11
                                                               :
SOUNDVIEW ELITE LTD., et al.,                                  :        Case No. 13-13098 (MKV)
                                                               :        (Post-Confirmation)
                           Confirmed Debtors.                  :
---------------------------------------------------------------x
CORINNE BALL, as Plan Administrator of                         :
SOUNDVIEW ELITE LTD.,                                          :        Adv. Pro. No.: 15-01312 (MKV)
                                                               :
                                    Plaintiff,                 :
                                v.                             :
                                                               :
JAMES CROSSON, JR.,                                            :
                                                               :
                                    Defendant.                 :
---------------------------------------------------------------x

                                                 JUDGMENT

        The Court has ordered that the plaintiff, Corinne Ball, as Plan Administrator of Soundview
Elite Ltd., recover from the defendant James Crosson, Jr. the amount of Twelve Thousand Six
Hundred and One Dollars ($12,601), plus post-judgment interest accruing from the date of entry
of a judgment against defendant at the federal post-judgment rate under 28 U.S.C. § 1961.

Date:                                                              CLERK OF THE COURT



                                                                   Clerk or Deputy Clerk




 
